                     UNITED STATE BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF CALIFORNIA



In Re: BRENDA VILLAGOMEZ                     Chapter 13

                                             Bankruptcy No.: 09-32639 TEC




                                    EXHIBIT A




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